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Price‘s Collison Center as
agent for Lee COmPanY

 

 

 

 

 

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To Any Lawful Officer to Execute and Retum: "' l 1 f
a ch woodard to appear before the dodge of the General Smons Court of this county on the l § day of

 

 

 

 

 

 

 

 

 

 

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how 92 Breach`of antract forl failure to pay for repairs to vehicle ‘
,'Ln th’e amount of 698.69
Plus Costs and Fees
under §§,000.00
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issued /(.Q l 5 .-20{ . .baputy Clerk
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Dafendant(s) |‘n Court and admitted to jurisdiction of ¢ourt.

Thistho day of , 2|'.!____,_.

l . Judge, Div.

 

 

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Case 3:12-cV-00875 Document 1-1 Filed 08/27/12 Page 11 of 20 Page|D #: 15

 

 

 

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TG THE DEFENDANT(S):

Tennesseo law provides a ten thousand dollar ($10,`000.00} personal properly exemption from execution _nr seizure to
satisfy n judgment ll aiudgmeni should be entered against you in this action and you wish to claim properly as exempt, you must
tile a written list, under oath, of the items you wish to claim as exempt with the clerk of the court The list may be filed al any firm
and may be changed by you thereafter as necessary; hnwwor, unless ii l_s filed before the judginth becomes fmal, lt will not be
effective as to any execution or garnishment issued prior to the liling of the list Cerwin items are automatically exempt by law
and do not need to be iisted; these include items of necessary wearing apparel `(ciothingl for yourself and your fan-iin and trunks or
other receptacles necessary to contain such a_ppar_el; family portraits, the family Bihle, and school books Sho\_aid any of those
items be seized you would have the right to recover them lf you do not understand your exemption right or how to exercise lt, yo\
may wish to seek the counsel ~
of a iawyer.

 

 

AFFIDAV|T l

 

T_o the best of my information end holief, after investigation of defendants empioyment, i hereby make affidavit that the
defendant(s`} islam not a member of a military servicel

 

Attorney for the Piointlff or Flsintiffs

 

 

 

 

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My comm. Exp.:
L chose

 

From which judgment the prayed an appeal to the Clrcuit Court on . 20 .

 

 

 

. Jud|e., Div.

Case 3:12-cV-00875 Document 1-1 Filed 08/27/12 Page 12 of 20 Page|D #: 16

11

Subrogation Agreement

The undersigned hereby grants andeonveys to Prices Collision Centers, LLC all
of our right title and interest to pursue claims against Progressive lnsurance Company
under our Automobile lnsurance Policy for failure to pay the required amounts under our

policy.

This gives Prices Collision Centers the right to institute and bring litigation in Our
name and on our behalf to collect any and all amounts due under the policy

We further assign to Prices Collisio.n Ccnters any and all amounts i‘ecovered as a

result of the actions taken pursuant hereto.

Witness our hands this _3)_ day'--o'f` 1

  
   

 

, 2011.
`IZE'€Coxnpany v

Witness my hand and seal this __§_ day of Q li('d: , 201_§__
` Notary Public`Z

My Commission Expires:

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Case 3:12-cv-00875

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Case 3:12-cV-00875 Document 1-1 Filed 08/27/12 Page 14 of 20 Page|D #: 18

IN THE CIRCUIT COUR_T OF WILLIAMSON COUNTY, TENNESSEE

PRICE’S COLLISION CENTER, Fl l-ED
'Agent for Lee Company, DEC .. 9 2011
- - ` l\/chillan Barrett
Plamtlff’ Debbiz}ircuit Couxt
vs. Docket No. 2011 CV-640

PROGRESSIVE HAWAII INSURANCE,

v`/V\./V`/\./\/V\-/

Defendant.
MOTION FOR WAIVER OF LOCAL RULE 8.01

Comes the Defendant, through counsel, and in light of Local Rule 8.01 which directs the

Clerk of this Court to automatically set this Genera`l Sessions appeal for trial, now requests the case

not be set pending completion of appropriate Written discovery. The Det`endant anticipates this case

can be set by agreement of counsel upon completion of proper discovery
Respectfully submitted,

FEENEY & MURRAY, PC

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olin ThoMs Feeney ,/

'PRN 11482
P. O. BoX 198685
Nashville, Tennessee 37219-8685
(6l5) 242-3700

   

/

 

Case 3:12-cV-00875 Document 1-1 Filed 08/27/12 Page 15 of 20 Page|D #: 19

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing has been
forwarded via U.S. mail, postage prepaid to:

Donald R. Barrett, Jr., Esq.
121 First Avenue

Suite 200 `

Franklin, Tennessee 37064

l`his the 8"‘ day of December, 2011. f //

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Jélin Thomas Feeney //

Case 3:12-cV-00875 Document1-1 Filed 08/27/12 Page 16 of 20 Page|D #: 20

IN THE CIRCUIT COURT OF WILLIAMSON COUNTY, TENNESSEE

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PRICE’S COLLISION CENTER, W
Agent for Lee Company, HAY l 3 Zbi,i
i`)ebbia l\ictviillan barrett
Plaintiff, Cireuit Ccutt
vs. Docket No. 2011 CV-640

PROGRESSIVE HAWAII INSURANCE,

\_/V\/Vv\-/\-/VV\-/

Defendant.
MOTION FOR MORE DEFINITE STA'l`EMENT

Cornes the Defendant, through counsel, and moves the Court to require Plaintiff to provide
a more definite statement pursuant to Rule 12.05 of the Tennessee Rules of Civil Procedure.

This matter stems from the appeal of a General Sessions case. The General Sessions Civil‘
Warrant alleged that Defendant breached its contract with Plaintiff by failing to pay for repairs to
Lee Cornpany’s vehicle in the amount of 3698.69.

As grounds for this l\/iotion, Defendant would show that Plaintifi" s written discovery requests
are very broad and appear to involve issues well outside the scope of this matter as raised in the
General Sessions Civil Warrant. ‘ However, due to the lack of detail required in the Civil Warrant,
Defendant’s ability to determine the scope of its discovery response obligation is hindered. lt is

further expected that affirmative defenses that are properly raised in an Answer may apply to this

 

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Examples of the Plaintifi"s discovery requests include:

lnterrogatory 12: Please identify any and all communication between you an any other third party concerning the quality,
workmanship, performance, and/or value of the work performed by Price’s Collision Centers. LLC;

Interrogatory 13: Please identify any internal communications regarding Price’s Collision Centers. LLC.

Interrogatory 14: Please identify any communications between you and another insurance company concerning the quality,
workmanship, performance, and/or value of the work performed by Price’s Collision Center.

interrogatory 15: Please identify any communications concerning your “preferred” shops in Tennessee for the repair of the
vehicle of your insureds

Case 3:12-cV-00875 Document1-1 Filed 08/27/12 Page 17 of 20 Page|D #: 21

case. As such, Defendant anticipates the filing of a more detailed statement by Plaintiff, (a
Cornplaint) will allow Defendant to file a proper Answer and join issue if appropriate These
pleadings will allow this matter to proceed as a typical Circuit Court matter.

WHEREFORE, Defendant specifically requests that Plaintiff provide specific allegations
involving this matter, thereby allowing Defendant to Answer and determine appropriate limits on
its discovery responses ln support of this Motion, Defendant relies on the General Sessions Civil

Warrant filed in this matter and Rule 12.05 of the Tennessee Rules of Civil Procedure.
Respectfully submitted,

FEENEY & MURRAY, PC

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Joh_'ii Thomas Feeney
Attorney for Defendaiit
BPRN 11482
P. O. Box 198685
Nashville, Tennessee 37219-8685
(615) 242-3700

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing has been
forwarded via U.S. mail, postage prepaid tot

Donald R. Barrett, Jr., Esq.
121 First Avenue
Suite 200

Franklin, Tennessee 37064

This the 17‘h day of May, 2012. H v …/

 

John Thomas Feeney

Case 3:12-cV-00875 Document1-1 Filed 08/27/12 Page 18 of 20 Page|D #: 22 b

IN THE CIRCUIT COURT FOR WILLIAMSON COUNTY, TENNESSEE

PRICE’S COLL_ISION CENTER, LLC,
Agent for Lee Company,

Plaintiff,
v.
PROGRESSIVE HAWAII INSURANCE

Defendant.

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Case No. 2011 CV-640

NOTICE OF APPEARANCE

Please take notice that Williarn T. Rainsey, Andrew A. Warth, and Robert A. Peal of

Neal & l-larwell, PLC hereby enter their appearance as counsel of record for Plaintiff, Price’s

Collision Center, LLC, Agent for Lee Cornpany in this matter.

 

 

By:

 

Wiiiiaii\lr. amsey, NO. 9245
Andrew A. Warth, No. 27606
Robert A. Peal, No. 25629
150 Fourth Avenue North, Suite 2000
Nashville, Tennessee 3 721 9

Phone: (615) 244-1713

Fax: (615) 726-0573

Donald R. Barrett, Jr., Esq., No. 11400
SIDWELL, BARRETT &WELCH, P.C.
121 First Avenue South, Suite 200
Franl<lin, TN 37064 ’

Phone: (615) 790-8868

Ai‘z‘orneysfor Prz`ce ’s Colll`sz`on Center, LLC
Agentfor Lee Company

Case 3:12-cV-00875 DoCument 1-1 Filed 08/27/12 Page 19 of 20 Page|D #: 23

CERTIFICATE oF sERviCE

l hereby certify that a true and correct copy of the foregoing has been served via U.S.
l\/lail, postage prepaid to:

lohn Thomas Feeney

Feeney & l\/Iuiray, P.C.

424 Church Street, Suite 2230

P.O. Box 198685

Nashville, TN 37219

This the 9'“/[% day of June, 2012.

 

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